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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On December 28, 2023, at my direction and under my supervision, employees of KCC
caused to be served the following document via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service lists attached hereto as Exhibit B
and Exhibit C:

    •    Order Authorizing and Approving the Sale of Certain of the Debtors' Assets Free and
         Clear of All Liens, Claims, Encumbrances, and Interests [Docket No. 875]

Dated: January 4, 2024
                                                               /s/ Michael Villa
                                                               Michael Villa
                                                               KCC
                                                               222 N Pacific Coast Highway, 3rd Floor
                                                               El Segundo, CA 90245
                                                               Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                                                                    Core/2002 Service List
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                                                                                                                      bradley.pensyl@allenovery.com;
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Group), Foxconn EV Technology, Inc.,                                            Christopher Newcomb, Justin           joseph.badtke-berkow@allenovery.com;
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and Foxconn EV System LLC                 Allen & Overy LLP                     Jacob R. Herz, Robin Spigel           robin.spigel@allenovery.com
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                                                                   Core/2002 Service List
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                                                             Core/2002 Service List
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               Description                        CreditorName           CreditorNoticeName                     Address1                  Address2             Address3             City        State     Zip      Country
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   Top 30 and Committee of Unsecured Barry L. Leonard and Company dba Trans Machine
   Creditors                             Inc.                        Technologies                        Barry Leonard               920 Brenner St                           Winston-Salem     NC    27101
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   Delaware State AG and DOJ               Delaware Dept of Justice      Attorney General                Department                  Building              820 N French St    Wilmington        DE    19801
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   DE State Treasury                       Delaware State Treasury                                       Suite 100                                                            Dover             DE    19904
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   operations)                             Florida Attorney General      Attn Bankruptcy Department      PL-01 The Capitol                                                    Tallahassee       FL    32399-1050
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   Foxconn                                 Foxconn (Far East) Limited                                    P.O. Box 31119              Hibiscus Way          Road               Grand Cayman            KY1-1205     Islands
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   Foxconn                                 Foxconn EV Technology, Inc.   Steven Yu                       204                                                                  Cleveland         OH    44121
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   Foxconn                                 Foxconn Ventures Ptd. Ltd.    Co., Ltd. Attn Jerry Hsiao     No. 66, Zhongshan Road Zone                        Tucheng District   New Taipei City         23680        Taiwan
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                                                                         Centralized Insolvency
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                                                                                                Core/2002 Service List
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               Description                       CreditorName             CreditorNoticeName                Address1             Address2              Address3               City   State      Zip       Country
   Top 30 and Committee of Unsecured
   Creditors                            SA Automotive LTD             Shar Hedayat                  1307 Highview Dr                                                 Webberville     MI      48892
   Committee of Unsecured Creditors     SA Automotive Ltd.            Attn: Katherine Diederich     1307 Highview Drive                                              Webberville     MI      48892
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   SEC Regional Office                  Commission                    PA Regional Office            Regional Director       One Penn Center        Boulevard Ste 520 Philadelphia    PA      19103
                                        Securities & Exchange
   SEC Headquarters                     Commission                    Secretary of the Treasury     100 F St NE                                                      Washington      DC      20549
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                                        US Attorney for District of
   US Attorney for District of Delaware Delaware                      US Attorney for Delaware      1313 N Market Street    Hercules Building                        Wilmington      DE      19801




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                                                            Lienholders Service List
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                                   CreditorName                     Address1                   City State     Zip
                          COMPETITION ENGINEERING, INC     975 COMSTOCK STREET             MARNE    MI    49435-8751
                          HEWLETT-PACKARD FINANCIAL                                        BERKELEY
                          SERVICES COMPANY                 200 CONNELL DRIVE               HEIGHTS  NJ    07922
                          PETERSON JIG AND FIXTURE, INC.   301 ROCKFORD PARK DR. NE        ROCKFORD MI    49341
                          PETERSON JIG AND FIXTURE, INC.   PO BOX 641                      ROCKFORD MI    49341
                          PROPER TOOLING, LLC & PROPER
                          GROUP INTERNATIONAL, LLC         13870 E 11 MILE ROAD            WARREN    MI     48089




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